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                                  EXHIBIT J

                            (Restructuring Proposal)
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                    Municipal Secondary Market Disclosure Information Cover Sheet
                            Municipal Securities Rulemaking Board (MSRB)
                         Electronic Municipal Market Access System (EMMA)
                                    Additional / Voluntary Event-Based Disclosure
       THIS FILING RELATES TO ALL OR SEVERAL SECURITIES ISSUED BY THE ISSUER, OR ALL OR SEVERAL
       SECURITIES OF A SPECIFIC CREDITOR:
       Issuer’s Name:     THE COMMONWEALTH OF PUERTO RICO
       Other Obligated Person’s Name (if any):
       Six-digit CUSIP number(s):    745145 and 74514L


       TYPE OF INFORMATION PROVIDED:
       A.      Amendment to Continuing Disclosure Undertaking

       B.      Change in Obligated Person

       C.      Notice to Investor Pursuant to Bond Documents

       D.      Communication from the Internal Revenue Service

       E.      Bid for Auction Rate and Other Securities

       F.      Capital or Other Financing Plan

       G.      Litigation / Enforcement Action

       H.      Change of Tender Agent. Remarketing Agent or Other On-going Party

       I.      Derivative or Other Similar Transaction

       J.      Other Event-Based Disclosures: Government of Puerto Rico proposal under Title VI of PROMESA


       I represent that I am authorized by the issuer, obligor or its agent to distribute this information publicly.

       /s/ Sebastián M. Torres Rodríguez
       Sebastián M. Torres Rodríguez
       Puerto Rico Fiscal Agency and Financial Advisory Authority,
          as Fiscal Agent for the Commonwealth

       Dated: April 28, 2017



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611287                                                                   CONFIDENTIAL WORKING DRAFT – ADVISORS EYES ONLY SUBJECT TO NDA
CONFIDENTIAL - SUBJECT TO FRE 408
                                                                                                            SUBJECT TO MATERIAL CHANGE
                                                                                                              PRINTED 4/24/2017 4:15 PM




                                                         CONFIDENTIAL

                                          ADVISORS EYES ONLY SUBJECT TO NDA

                  PREPARED AT REQUEST OF COUNSEL FOR SETTLEMENT PURPOSES - FRE 408




GO / COFINA
Project Estado
April 24, 2017                                                                                      Strictly confidential
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611287                                                                                                 CONFIDENTIAL WORKING DRAFT – ADVISORS EYES ONLY SUBJECT TO NDA
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                                                                                                                                          SUBJECT TO MATERIAL CHANGE
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                          Proposal
                  1       The Cash Flow Available for Debt Service in the certified Fiscal Plan shall form the basis of a comprehensive settlement

                  2       To attract maximum consensus, Puerto Rico will issue three types of settlement currency:
                                                                    Up to $16.75 billion
                              Senior Bonds
                                                                    Constitution priority debt
                                                                    Tax-exempt1
                                                                    Capable of attracting a rating

                              Cash Flow Bonds                       Turbo structure and designed to be tradeable
                                                                     – Senior Tranche: Up to $8.0 billion
                                                                     – Junior Tranche: Up to $2.0 billion
                                                                    Senior Tranche possibly tax-exempt; Junior Tranche likely taxable
                                                                    Payment only upon performance in excess of certified Fiscal Plan
                                                                    Intended to capture favorable variances from Fiscal Plan, including from outperformance of macroeconomic
                                                                     assumptions and results of fiscal measures

                              Short Term Notes                      Consideration from the sale of assets in COFINA reserve accounts to Puerto Rico

                  3       GO Bonds and GO Guaranteed claims will receive pro rata distribution of [$9.8bn] of Senior Bonds

                  4       COFINA creditors will receive a choice of treatment:
                              If they consent to the plan of adjustment, COFINA creditors will receive pro rata share of [$6.9bn] of Senior Bonds
                               – COFINA Senior and COFINA Junior claims to be treated pari passu
                              If they reject the plan of adjustment, COFINA Senior creditors will receive [$450m] of short-term notes and COFINA Junior
                               creditors will receive no distribution due to contractual subordination

                  5       Senior Cash Flow Bonds distributed pro rata to GO Bonds, GO Guaranteed claims and COFINA claims (if accepting the
                          plan) on account of any allowed deficiency claims

                  6       Junior Cash Flow Bonds distributed pro rata to Claw Back Entity creditors

                  7       Convenience class established to provide 100% recovery to creditors with total claims below a minimum threshold TBD
                          Note
1                         1    A portion of Senior Bonds may be taxable. Final allocations TBD
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611287                                                                           CONFIDENTIAL WORKING DRAFT – ADVISORS EYES ONLY SUBJECT TO NDA
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                          Illustrative creditor treatment

                            Illustrative creditor treatment ($m)

                                                                                 Proposed Treatment

                                                                                          Cash Flow Bond
                                                    Illustr.       Senior              Senior         Junior
                                                     Claim         Bond               Tranche         Tranche
                           GO + COFINA
                           GO Bonds                  $13,243        $6,935              $3,312                 --
                           GO Guarantee                5,559         2,911               1,390                 --
                                                                                                                        COFINA claims offered
                            Subtotal                  18,802         9,846               4,702                 --       choice of:
                                                                                                                        • Short-term notes for
                           COFINA - Sr                 7,666         3,011               1,438                 --          amount in the COFINA
                           COFINA - Jr                 9,914         3,894               1,860                 --          Pledge Account, or
                            Total COFINA              17,580         6,904               3,298                 --       • Pro rata Senior Bond
                                                                                                                           & Senior Cash Flow
                                                                                                                           Bond subject to 25%
                           Convenience Class          [____]        [____]                      --             --
                                                                                                                           discount
                            Total GO + COFINA         36,382        16,750               8,000                 --

                           Claw Back Entities
                           HTA                         4,124                --                  --         1,223
                           PRCCDA                        386                --                  --          115
                           PRIFA                       2,207                --                  --          654
                           MBA                             28               --                  --             8
                            Total                      6,746                --                  --         2,000

                            Overall Total            $43,128       $16,750              $8,000          $2,000
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611287                                                                         CONFIDENTIAL WORKING DRAFT – ADVISORS EYES ONLY SUBJECT TO NDA
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                          Illustrative flow of funds

                                                            Cash Flow Available for Debt Service




Senior Debt Service
                                                    Senior Bond                            Future GO Debt
                                                     $16.75 bn                               Issuances




                                                             Cash Flow Available after GO Debt


                                                      50%                                   50%



                                    Government of
                                                                              Cash Flow Available for Cash Flow Bonds
                                     Puerto Rico



                                                                                                                               Amounts in
                                                             First $250m    90%                                      60%
                                                                                         New Senior CF Bond                    excess of $250m
    Cash Flow Bonds                                                                           $8.0 bn
        Debt Service


                                                                            10%          New Junior CF Bond          40%
                                                                                               $2.0 bn


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                          Term Sheet: New Senior Bond

                            Security                                         Senior Bond with constitutional priority
                                                                              – Classified as Tax Exempt debt



                            Allocation                                       Pro rata to allowed claims:
                                                                              – General Obligation Bonds
                                                                              – COFINA Bonds
                                                                              – GO Guarantee claims (1)



                            Amount                                           $16.75 billion initial principal amount



                            Coupon Rate                                      Step coupon for 5 years reaching 4.50% at year 5
                                                                              –    Payable semi-annually on January 1st and July 1st



                            Maturity                                         30 year term with final maturity on July 1, 2047
                                                                             No call for 10 years; callable at par thereafter



                            Amortization                                     Annual principal amortization payable on July 1st subject to schedule
                                                                              – First amortization payment July 1, 2028 (1% of par)
                                                                              – Optional amortization (at issuer’s discretion) sized based on Fiscal Plan forecast


                           Notes
                           (1) Allocation on account of GO Guarantee claims limited to deficiency claims after creditor recovery at issuer entity


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                          Term Sheet: Senior Cash Flow Bond

                           Security                       Senior Cash Flow Bonds
                                                           – Structured as Turbo Capital Appreciation Bond with 5.00% Accrual Rate
                                                           – Subordinated in right of payment to the New Senior Bond
                                                           – Provisions for new debt issuance

                           Allocation                     Senior Tranche issued to holders of allowed GO / COFINA claims on account of
                                                           deficiency


                           Amount                         $8.0 billion


                           Debt Service                   Annual partial redemption of Accreted Value based on Flow of Funds described below (1)


                           Flow of Funds                  For each fiscal year, all revenues available after (1) payment of GO Debt and (2)
                                                           Government Expenditures will be allocated:
                                                           – 50% for debt service to the Cash Flow Bonds
                                                           – 50% to be retained by the Government for the General Fund
                                                          Waterfall payments for Cash Flow debt service:
                                                           – First $250 million to be split 90% to the Senior CF Bond; 10% to the Junior CF Bond
                                                           – Any amounts in excess of $250 million to be split 60% to the Senior CF Bond; 40% to
                                                             the Junior CF Bond

                           Mandatory Prepayment           Mandatory prepayment from 10% of the proceeds of any new GO debt issuance
                                                           –   Split 75% / 25% between the Senior and Junior tranches respectively


                           Maturity                       Any remaining CF Bond balances automatically forgiven on the 40 year anniversary of
                                                           issuance
                                                          Callable at the accreted value after 5 year anniversary


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                          Term Sheet: Junior Cash Flow Bond

                           Security                       Junior Cash Flow Bonds
                                                           – Structured as Turbo Capital Appreciation Bond with 5.50% Accrual Rate
                                                           – Subordinated to the New GO Bond and the Senior Cash Flow Bond
                                                           – Provisions for new debt issuance



                           Allocation                     Junior tranche issued on account of allowed claims for the following entities:
                                                           – HTA
                                                           – PRIFA
                                                           – PRCCDA
                                                           – MBA



                           Amount                         $2.0 billion



                           Debt Service                   Annual partial redemption of Accreted Value based on Flow of Funds as described in
                                                           Senior Cash Flow Bond including waterfall provisions



                           Mandatory Prepayment           Mandatory prepayment from 10% of the proceeds of any new GO debt issuance
                                                           –   Split 75% / 25% between the Senior and Junior tranches respectively



                           Maturity                       Any remaining CF Bond balances automatically forgiven on the 40 year anniversary of
                                                           issuance
                                                          Callable after 10 year anniversary at premium TBD


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